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         Case 8:04-cr-00474-JSM-E_J Document 90 Filed 04/25/05 Page 2 of 6 PageID 215

A 0 245B (Rev 12/03) Sheer 2 - Imprisonnlent
Defendant:          LIBINTON MOLINA-MEDINA                                              Judgment - Page 2 of 5
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          After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
$8 3553(a)(l)-(7),the court fmds that the senteticc imposed is sufficient, but not greater than necessary, to cornply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the United States Bureau of Prisons to he
imprisoned for a total tern1 of ONE HUNDRED and THIRTI'-FIVE (135) hlONTHS as to Count One of the Indictment.



- The court makes the following recommendarions to the Bureau of Prisons:



-
X The defendant is remanded to rhe custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this d~strict.
          -at -a.rn./p.m. on -.
          -as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated hy the Bureau of Prisons.

          - hefol-r:2 p.m. on -.
          -as notified by the United States Marsllal.
          -as notitied by the Probation or Pretrial Services Office.



                                                                    RETURii

          I have execured h i s judgment as follows:




          Defendant delivered on                                                 to                               at

                                                                       , wih a ccnified copy of this judgment.



                                                                                        United States Marshal



                                                                     Deputy hlarshal
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A 0 215B (Rev. 12103) Sheet 3 - Supervised Release

Defendant:         LIBINTON MOLINA-MEDINA                                                               Judgment - Page 3of 6
Case No.:          8:04-cr-474-T-30EAJ
                                                          SUPERVISED RELEASE

       Upon release from in~prisonment,the defendant shall he on supervised release for il term of FIVE (5) YEARS as to
Count One of the lnclictmcot.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state. or local crime.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic dmg tests
thereafter, as determined by the court.

X-
-        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse. However, the Coun authorizes the probation officer to conduct random drug testing not to exceed 104 tests
         per year.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)



          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this jud,oment.

          The defend'mt shall con~plywith the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                            STANDARD CO3X)ITIONS OF SUPERVISION
          Ihe defendant shall no1 leave the judicial district without the permission of the court or proholion olliccr;

          the defendant shall report to h e probation officer and shall submit a trulhful and coniplctc \vrittcn rcport I\ ithin the first five days of each
          month:

          the dcfcndant shall answcr truthfully all inquiries by the probation officer and follow thc instructions ofthe probation otticcr:

          thc dcfcndant shall support his or her dependents and meet other family responsibilities:

          the dcfcndant shall work regularly at a latvful occupation. u n l s s excused by the probation officer for schooling. training. or other
          acceptable reasons:

          the defendant shall notify the probation officer at least ten days prior to any change in residence or cmploymcnt:

          the defendant shall refrain from excessivc usc of alcohol and shall not purchase. possess, use, distribute. or administer any conrrolled
          substance or any paraphernalia related to any controlled substances. except as prescribed by a physician:

          the defendant shall not Srcquent places where controlled substances art illegally sold. used. distributed. or administered:

          the defendant shall not associate with any persons engaged in criminal activity and shall not associak with any person convictsd of a
          felony. unless granted permission to do so by the probation oficer:

          the defcndant shall pcrmit a probation officer to visit him or her at an? time at home or elscwhcrc and shall perniit confiscation of any
          contraband obscncd in plain vie\\ of the probation officer:

          the dcfcntlant sllall notify thc probation officer within seventy-two hours of being arrested o r questioned by a law cnforccmcnt ofiicer:

          the defcndant shall not enter into any agreement to act as an informer or a spccial agent o l ' ; ~I;lw cnli~rcenicntagcncj iiithout the
          permission oYthc court:

         as directed by the prohalion oficcr, tllc defendant shall n o t i c third parties of risks that may be occ:~sioncdby the defendant's criminal record
         or pcrsonal I i i s t o ~or char;tctcristics and shall pern~itthe probation officer to rnakc such n o t i h t i o n s and to confirm the defendant's
         compliance uirh such notification rcquiren~ent.
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                              -
A 0 2.133 (Rrv. 12103) Sheer 3C Supervixd Release
                                                    -.

Defendant:          LIBINTON MOLINA-MEDINA                                                    Judgment - Page 4 of 6
Case No.:           8:CU-cr474-T-30EAJ
                                            SPECIAL COhBITIONS OF SUPERVISION

          The defendant shall also comply wid1 the following addirional conditions of supervised release:


-
X         If the defendant be deported, helshe shall not be allowed to re-enter the Uni~cdSutes without the express permission of the
          appropriate governmental authority.
          Case 8:04-cr-00474-JSM-E_J Document 90 Filed 04/25/05 Page 5 of 6 PageID 218
 A 0 2458 (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:           LIBINTON MOLINA-MEDlNA                                                   Judgment - Page 5 of 6
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                                                 CRIAIINAL AIONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                            -
                                                                       Fine                    Total Restitution

           Totals:


 -         The determination of restitution is deferred until .               An Amended Jrrdgmenr in a Crirni~zalCase ( A 0 245C) will
           be entered after such determination.
 -         The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
            If the dcfendmt makes a partial payment. each payee shall receive an approximately proportioned payment. unless
                                                              a
            specified otherwise in the priority order or ercentaee payment column below. However. pursuant to 18 U.S.C. 5
            3664(i), all nonfederal victims nlust be pal before h e United States.
                                                                                                               Priority Order or
                                                        *Total                   Anlount of                    Percentage of
 Name of Pavee                                        Amount of Lass          Restitution Ordered              Pavrnent




                                 Totals:              5                       -
                                                                              S

 -          Restitution amount ordered pursuant to plea agreement S
 -         The defendant shall pay interest on any fine or restitution of more than S2.500. unless the restitution or line is paid in full
           before the fifieenrh day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          -          the interest requirement is waived for the - fine        - restitution.
          -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10. 1 IOA, and 113A of Title 18 for the offenses committed
on or after September 13, 1991, but before April 23, 1996.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payn~ents
Defendant:         LIBMTON MOLINA-MEDINA                                            Judgment - Page 6of 6
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                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of S 100.00 due immediately. balance due
                             -not later than                    . or
                             -in accordance - C. - D, - E or - F below: or
                   Payment to begin inmediately (may be combined with -C, -D. or -F below): or
                   Payment in equal                 (e.g., weekly. monthly. quarterly) installments of $             over a
                   period of          (e.g., months or years), to conmence              days (e.g.. 30 or 60 days) after the
                   date of chis judgment; or
                   Payment in equal                 (e.g.. weekly. monthly. quarterly) installments of $                over a
                   period of
                                 , (e.g.. months or years) to commence                     (e.g . 30 or 60 days) after release
                   from inlprisomnenr to a tern1 of supervision: or
                   Payment during the term of supervised release will commence within                         (e.g.. 30 or
                   60 days) after release from in~prisonment.The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time. or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered othenvise. if this judgment imposes a period of in1                           payment of criminal
monetary penalties is due during in1 risonment. All criminal monetary penalties, except                                made through the
                                         !
Federal Bureau of Prisons' b a t e inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an .and all assets and property,
                                                                                                      PJ
or portions thereof, subject to forfeiture, which are in the possession or control of t le efendant or the defendant's
nominees.



Payments shall be applied in the following order: ( I ) assessment. (2) restitution principal, (3) restitution interesr. (4) f i e principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) cosrs, including cost of prosecution and court costs.
